Case 2:23-cr-00231-JMA-JMW Document1 Filed 05/31/23 Page 1 of 4 PagelD #: 1

FILED
IN CLERK’S OFFICE
US DISTRICT COURT E.D.N.Y.
EDP-RMP * MAY 31,2023 *
F. #2022R00288 BROOKLYN OFFICE
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
2 UES GONE GINA! BEEES WIS GRE OE BERS & xX
UNITED STATES OF AMERICA INDICTMENT
- against - Cr. No. 23-CR-231
(T. 18, U.S.C., §§ 982(a)(1), 982(b)(1),
DAVID SCOTESE, 1956(a)(3)(B), 1960(a), 2 and 3551 et
seq.; T. 21, U.S.C., § 853(p))
ieotacliani Judge Joan M. Azrack
ooo ee eee eee eee eee eee ee Xx Magistrate Judge James M. Wicks
THE GRAND JURY CHARGES:
COUNT ONE

(Operation of an Unlicensed Money Transmitting Business)

Is In or about and between January 2016 and May 2023, both dates being
approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant
DAVID SCOTESE, together with others, did knowingly conduct, control, manage, supervise,
direct and own all and part of an unlicensed money transmitting business which affected
interstate and foreign commerce, to wit: a cryptocurrency exchange and cash transfer business,
and while doing so failed to comply with the money transmitting business regulations and
registration requirements under Title 31, United States Code, Section 5330, specifically by
failing to register such business with the United States Department of Treasury, as required by
law.

(Title 18, United States Code, Sections 1960(a), 2 and 3551 et seq.)
Case 2:23-cr-00231-JMA-JMW Document1 Filed 05/31/23 Page 2 of 4 PagelD #: 2

No

COUNT TWO
(Money Laundering)

2: In or about and between October 2021 and November 2021, both dates
being approximate and inclusive, within the Eastern District of New York and elsewhere, the
defendant DAVID SCOTESE, together with others, did knowingly and intentionally conduct one
or more financial transactions in and affecting interstate and foreign commerce, to wit: the
exchange of cryptocurrency and transfer of United States currency, which transactions involved
property represented by persons acting at the direction of, and with the approval of, a federal
official authorized to investigate violations of Title 18, United States Code, Section 1956, to be
the proceeds of specified unlawful activity and property used to conduct and facilitate specified
unlawful activity, to wit: narcotics trafficking, in violation of Title 21, United States Code,
Sections 841 and 846, with the intent to conceal and disguise the nature, location, source,
ownership and control of property believed to be the proceeds of such specified unlawful
activity.

(Title 18, United States Code, Sections 1956(a)(3)(B), 2 and 3551 et seq.)

CRIMINAL FORFEITURE ALLEGATION

ii. The United States hereby gives notice to the defendant that, upon his
conviction of either of the offenses charged herein, the government will seek forfeiture in
accordance with Title 18, United States Code, Section 982(a)(1), which requires any person
convicted of such offenses to forfeit any property, real or personal, involved in such offenses, or
any property traceable to such property.

4, If any of the above-described forfeitable property, as a result of any act or
omission of the defendant:

(a) cannot be located upon the exercise of due diligence;
Case 2:23-cr-00231-JMA-JMW Document 1 Filed 05/31/23 Page 3 of 4 PagelD #: 3

(b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be
divided without difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), as
incorporated by Title 18, United States Code, Section 982(b)(1), to seek forfeiture of any other
property of the defendant up to the value of the forfeitable property described in this forfeiture
allegation.

(Title 18, United States Code, Sections 982(a)(1) and 982(b)(1); Title 21,

United States Code, Section 853(p))

A TRUE BILL

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FOREPERSON
By CPokowg, Maaatant .S. Atiaanag:

BREON PEACE
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK

Case 2:23-cr-00231-JMA-JMW Document1 Filed 05/31/23 Page 4 of 4 PagelD #: 4

F #: 2022R00288

FORM DBD-34 No.
JUN. 85

UNITED STATES DISTRICT COURT
EASTERN District of NEW YORK

CRIMINAL DIVISION

THE UNITED STATES OF AMERICA

vs.

DAVID SCOTESE,

Defendant.

INDICTMENT
(T. 18, U.S.C. §§ 982(a)(1), 982(b)(1), 1956(a)(3)(B), 1960(a), 2 and
3551 et seq.; T. 21, U.S.C. § 853(p))

Af bill.
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Robert M. Pollack, Assistant U.S. Attorney (718) 254-6232
